                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 MIKE SETTLE, TDOC #207584                          )
                                                    )    Case No.: 3:16-CV-250-RLJ-CCS
         Plaintiff                                  )    Judge R. Leon Jordan
 v.                                                 )    Magistrate Judge C. Clifford Shirley, Jr.
                                                    )    Jury Trial Demanded
 SHAWN PHILLIPS,                                    )
                                                    )
         Defendant                                  )


                     RESPONSE OF THE PLAINTIFF MIKE SETTLE TO

               THE DEFENDANT’S MOTION FOR SUMMARY JUDGEMENT

         This is a State prisoner’s civil action under 42 USC § 1983. The Plaintiff Mike Settle (or

 the “Prisoner”) commenced the action by filing his pro se complaint with exhibits [RE 1, Page

 ID ##1-85] on May 5, 2016. In his complaint, Mr. Settle alleges excessive confinement in

 segregation and denial of mental health care in violation of the First, Eighth, and Fourteenth

 Amendments to the United States Constitution, and negligent conduct consisting of a policy or

 custom.


         Mr. Settle sued three defendants, Shawn Phillips, Derrick Schofield, and Douglas

 Stephens, each in his individual and official capacities, and alleged that all three acted under

 color of State law at all relevant times. These named defendants are identified in the Order filed

 May 16, 2016 [RE 5, Page ID ##94-95] as, respectively, the warden of the Morgan County

 Correctional Complex (“MCCX”), the commissioner of the Tennessee Department of

 Corrections (“TDOC”), and the detainer administrator of the TDOC’s Office of General Counsel.


         The Prisoner having commenced this action in the Western District of Tennessee, a

 district judge in that judicial district transferred the action to the District Court for the Eastern



Case 3:16-cv-00250-RLJ-DCP Document 60 Filed 11/29/17 Page 1 of 7 PageID #: 438
 District of Tennessee, in which MCCX, in which the Prisoner is in custody, is located. Soon

 after transfer, the District Court for the Eastern District of Tennessee ruled [Memorandum and

 Order filed May 31, 2016, RE 7, Page ID ##100-109], after screening Mr. Settle’s complaint

 under the Prison Litigation Reform Act of 1996 (the PLRA), that only the Prisoner’s claim

 against the defendant warden arising out of Mr. Settle’s confinement in segregation for 17 years

 survives review.


         The district court summarized its ruling by writing, “[T]his action will proceed only as to

 Plaintiff’s claim that Defendant Shawn Phillips has violated his due process rights with regard to

 continuing to house Plaintiff in administrative segregation despite a panel recommendation that

 Plaintiff be released to general population.” [Id., Page ID #100.] The district court noted [Id.,

 Page ID #105] that two jail panel recommendations of release into the general population have

 been “disapproved by the wardens who appear to have the final say in the matter.”


         After this ruling, the Plaintiff Mr. Settle continued to file motions. The district court filed

 its Scheduling Order [RE 28, Page ID ##262-266] on November 28, 2016, setting this action for

 trial on January 30, 2018.


         In the Memorandum and Order filed March 29, 2017 [RE 35, Page ID ##293-302], the

 district court allowed amendment of the complaint to add an Eighth Amendment claim, to add

 allegations in support of the due process claim, and to add retaliation and intentional infliction of

 emotional distress claims. The district court also ruled on pending discovery motions. In the

 Order filed May 16, 2017 [RE 40, Page ID ##325-326], the court appointed undersigned counsel

 to represent Mr. Settle in this action.




                                                    2

Case 3:16-cv-00250-RLJ-DCP Document 60 Filed 11/29/17 Page 2 of 7 PageID #: 439
        Now pending is the defendant warden’s Motion for Summary Judgment filed May 18,

 2017 [RE 41, Page ID #327-328; supporting memorandum, RE 42 Page ID ##329-333;

 supporting affidavit, RE 43, Page ID ##334-387; and Statement of Undisputed Material Facts,

 RE 44, Page ID ##388-390]. The defendant warden seeks dismissal of this action for failure to

 exhaust administrative remedies. Because of the many pre se filings in the case, and because of

 the complexity of the claims for relief and their underlying theories, undersigned counsel has felt

 compelled to apply for indulgence from the district court on multiple occasions to prepare this

 response on behalf of the Prisoner to the defendant warden’s motion for summary judgment.


        The defendant warden moves for a summary judgment of dismissal of Mr. Settle’s civil

 action on the basis of Mr. Settle’s asserted failure to exhaust his administrative remedies, as is

 required by a portion of the PLRA, codified at 42 USC § 1997(a). The cited subsection provides

 that “[n]o action shall be brought with respect to prison conditions under [42 USC § 1983], or

 any other Federal law, by a prisoner confined in any jail, prison, or other correctional facility

 until such administrative remedies as are available are exhausted.”


        With respect to the factual basis for the defendant warden’s FRCP 56 motion, the

 defendant warden presents evidence through the affidavit testimony of Benjamin Bean, a TDOC

 Correctional Program Manager I. Mr. Bean states in his affidavit (with exhibited copies of

 TDOC documents) [RE 43, Page ID ##334-387] that with respect to Mr. Settle’s four grievances

 filed from April 2013 through May 18, 2017 which he pursued to the final level of appeal, one

 concerned alleged violation of First Amendment and Due Process rights through denying to Mr.

 Settle an opportunity to work, in retaliation for having sued the Defendant Warden. A second

 such grievance concerned Mr. Settle’s trust account; a third concerned another inmate spilling



                                                   3

Case 3:16-cv-00250-RLJ-DCP Document 60 Filed 11/29/17 Page 3 of 7 PageID #: 440
 hot milk on Mr. Settle. The fourth such grievance concerned property of Mr. Settle, including

 Reebok shoes.


        Documentary evidence submitted with this affidavit states the policies and procedures

 concerning TDOC’s inmate grievance procedures. The policies and procedures include

 provisions concerning appeals of decisions on grievances, and concerning the time limits

 applicable to such appeals.


        The following excerpt from the defendant warden’s memorandum in support of the

 pending motion for summary judgment provides a précise of the warden’s legal argument:


        The plaintiff filed the instant lawsuit on May 5, 2016. Therefore, in order to
        satisfy the grievance exhaustion requirement set forth in the [Prison Litigation
        Reform Act (PLRA)], the plaintiff would have had to completely exhaust the
        grievance process prior to May 5, 2016. However, in the three years prior to May
        5, 2016, the plaintiff exhausted only four grievances to the final level of appeal.
        The four grievances were filed on July 29, 2015 (number 00292430), October 6,
        2015 (number 00294799), June 23, 2016 (number 00303397), and August 26,
        2016 (number 0305780). The grievances filed on July 29, 2015, October 6,
        2015, and June 23, 2016, are not related to the issues raised in the instant lawsuit
        and therefore, do not satisfy the exhaustion requirement. The most recent
        grievance, (number 00305780 filed on August 26, 2016), could possibly be
        construed as relating to the issues raised in this complaint, however, it was filed
        several months after this lawsuit was filed and does not satisfy the requirement
        that grievances be exhausted prior to filing suit. It is well-established that a
        prisoner may not exhaust administrative remedies during the pendency of the
        federal suit. Larkins v. Wilkinson, 1998 WL 898870 at *2 (6th Cir. Dec. 17, 1998)
        (unpublished).

 Memorandum in Support of Defendant’s Motion for Summary Judgment [RE 42, Page ID

 ##331], (italics in original) (record references deleted).


        Both the plain language of the PLRA and the authorities on which the defendant warden

 relies support the defendant’s argument in his motion. For example, the court of appeals cited

 Larkins v. Wilkinson, 1998 WL 898870 (6th Cir. Dec. 17, 1998), cited in the excerpt immediately


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Case 3:16-cv-00250-RLJ-DCP Document 60 Filed 11/29/17 Page 4 of 7 PageID #: 441
 above from the defendant warden’s supporting memorandum of law, in Freeman v. Francis, 196

 F.3d 641, (6th Cir. 1999). In Freeman, the § 1983 action arose out of an alleged assault

 (excessive force) by a corrections officer on the complaining prisoner. The court of appeals

 upheld the trial court’s dismissal of the action for failure to exhaust administrative remedies,

 holding that exhaustion was required even thought the prisoner was seeking money damages

 when the grievance procedure provided no authority for an administrative award of such

 damages. The court of appeals held further that an excessive force claim is subject to the

 PLRA’s exhaustion requirement, and that a separate investigation by the Ohio State Highway

 Patrol of the alleged assault by the corrections officer did not excuse the duty to exhaust the

 administrative procedure for consideration of a grievance. The court of appeals in Freeman cited

 Larkins for the rule that because the PLRA’s plain language makes exhaustion a “precondition”

 to filing an action under federal law, “[t]he prisoner, therefore, may not exhaust administrative

 remedies during the pendency of the federal suit.” Freeman, 196 F.3d at 645.


        Freeman and Larkins notwithstanding, there exist some specific facts which must be

 considered by this court in the context of the defendant warden’s motion seeking dismissal for

 failure to exhaust the administrative procedure. For one, the TDOC’s own inmate grievance

 procedures contemplate allowing a § 1983 action to remain pending while exhaustion is pursued.

 See RE 43, Page ID #387:


                           WAIVER OF LEVEL I FILING TIME LIMIT


        In instances in which the grievant has had a 1983 court action continued by a
        Federal District Court in order to exhaust administrative remedies, the seven day
        time guideline for filing a grievance shall be waived. The grievant must provide
        documentation to invoke this provision.




                                                   5

Case 3:16-cv-00250-RLJ-DCP Document 60 Filed 11/29/17 Page 5 of 7 PageID #: 442
         A stay of proceedings in this § 1983 action would enable the Prisoner Mr. Settle, with the

 assistance of counsel, to refine his claims and theories while engaging in the administrative

 process. The quoted language in the TDOC inmate grievance procedures document shows that

 such a stay would not prejudice the defendant warden.


         Second, even if the court decides that application of the PLRA’s exhaustion requirement

 in this case requires dismissal, the familiar FRCP § 56(a) standard, “no genuine dispute as to any

 material fact and the movant is entitled to judgment as a matter of law,” does not require

 dismissal with prejudice of this § 1983 action. In Freeman, supra, the court of appeals remanded

 the case to the district court with the direction that it be dismissed without prejudice. 196 F.3d at

 645.


         The PLRA’s exhaustion requirement, or “precondition,” should not be allowed to obscure

 the allegation in this case that Mr. Settle, to his perhaps lasting detriment, has experienced

 administrative segregation, combined with only cursory mental health evaluation and care, for 17

 years. Modern understanding of the crushing effects of solitary confinement renders the word

 “torture” not an exaggerated summary of how such treatment might violate multiple federal

 constitutional rights. While the PLRA requires Mr. Settle to exhaust the administrative remedies

 available to him, it should not bar Mr. Settle from ever litigating his claims. A stay of

 proceedings or dismissal without prejudice should be allowed, to preserve this Prisoner’s

 litigation rights.


                                               Respectfully submitted,


                                               /s/ Francis L. Lloyd, Jr.             .
                                               Francis L. Lloyd, Jr., TN BPR #009808
                                               LAW OFFICE OF FRANCIS L. LLOYD, JR

                                                   6

Case 3:16-cv-00250-RLJ-DCP Document 60 Filed 11/29/17 Page 6 of 7 PageID #: 443
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                                   CERTIFICATE OF SERVICE

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                                                /s/ Francis L. Lloyd, Jr.                      .
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                                                   7

Case 3:16-cv-00250-RLJ-DCP Document 60 Filed 11/29/17 Page 7 of 7 PageID #: 444
